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UNITED STATES DI ‘or tbsane

MIDDLE DISTRICT OF FIZA py 3: “3
af JIST PR; or

JOHN PETERSON JANVIER, case NOE OSES ~ Braonct

535 MONCIA ROSE DR.APT#723 VOTER REG ban IEE 623677

APOPKA, FLORIDA 32703 DATE OF toil, nent BT 2016

(407-394-7700)

PLAINTIFF /PETITIONER,
BILL COWLES, SUPERVISOR OF ELECTIONS
ORANGE COUNTY, FLORIDA

119 W. KALEY ST.

ORLANDO, FLORIDA 32806

DEFENDANT/RESPONDENT (S) ,

/

AMENDED COMPLAINT

COMES NOW, PLAINTIFF/PETITIONER, JOHN PETERSON JANVIER, voter
REGISTRATION NUMBER: 123623677/PARTY: FLORIDA DEMOCRATIC PARTY,
ORANGE COUNTY DEMOCRATIC BLACK CAUCUS MEMBER, Pro se and files this

AMENDED COMPLAINT /NOTICE OF APPEAL under the provision [28 U.S.C.

1343 (4) ,441 U.S.600 and chapter 98 section 075(5) FLORIDA STATE

STATUTES] DETERMINATION LETTER REMOVED.-see attached documents

date 05/08/2017 for the following reason(s):

1.Charge (attempt to commit carrying a concealed firearm) is a

MISDEMEANOR under Florida Law ,and is eligible to vote.

2. Grounds for the Courts’s jurisdiction - see Voting Rights Act

of 1965 and The Fifteenth Amendment to the United State Constitution
section 1,The right of citizen of the United States to vote shall
not be denied or abridged by the United States or by any State on
account of race, color, or PREVIOUS CONDITIION OF SRERVITUDE.
3. The United State District Court Middle District Of Florida
Orlando Division, Federal Court’s,does have jurisdiction power

over Voting Rights Appeals , pursuant 15** amendment.
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4.I John Peterson Janvier, plaintiff is entitled to relief on the
grounds that I never lost my Civil Rights on Date 08/21/2015 in
Orange County, Florida due to a prior criminal conviction, charge
is a misdemeanor and Under Florida Law (misdemeanor) criminal
convictions are eligible to Vote in the United States of America.
(see attached Court Order of Florida First District Court of Appeals
Granted, John Peterson Janvier’s motion to take Judicial Notice
that the conviction is a misdemeanor and not a felony, Case
Number:1D12-4663 [John Peterson Janvier Appellant, vs. Department
of Agriculture and Consumer Services Division of Licensing]

5. I John Peterson Janvier demand the Federal Court’s order
Bill Cowles, Orange County Supervisor of Election, 119 W Kaley St,
Orlando, FL 32806 to reinstate/restore, John Peterson Janvier name

to the Statewide Voter Registration System and Right to Vote.

negpfroon SUBMITTED,

JOH PETERSON JANVIER,

535 MONICA ROSE DR.APT#723
APOPKA, FL 32703
PHONE: (407) 394-7700

CERTIFICATE OF SERVICE

I HEREBY CERTIFY THAT A TRUE A CORRENT COPY OF THE
HAS BEEN FURNISHED BY U.S. MAIL TO THE CLERK OF US
DISTRICT COURT, 401 W CENTRAL BLVD, ORLANDO, FL 32801

DATE: 06/30/2017
